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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
      v.                                 )     CASE NO. 3:16-CR-342-WKW
                                         )              [WO]
ROBERTO ANGUIANO, III,                   )
MARIO VERDUZCO, ANGELA                   )
QUACH, and DEEDRE DIAZ                   )

                                       ORDER

      Before the court is the Recommendation of the Magistrate Judge (Doc. # 162),

to which all four Defendants have filed objections (Docs. # 171, 172, 175, 181).

Upon an independent and de novo review of those portions of the Recommendation

to which objection is made, see 28 U.S.C. § 636(b), it is ORDERED that

Defendants’ objections are OVERRULED and the Recommendation is ADOPTED

as to each Defendant.

      A written opinion will follow.

      DONE this 26th day of June, 2017.

                                          /s/ W. Keith Watkins
                                CHIEF UNITED STATES DISTRICT JUDGE
